







Petition for Writ of Mandamus Denied and Memorandum Opinion filed
December 30, 2003










Petition for
Writ of Mandamus Denied and Memorandum Opinion filed December&nbsp;30, 2003.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court
of Appeals

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&nbsp;

NO. 14-03-00867-CV

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&nbsp;

IN RE JOHN (BIJAN) K. MENNER AMINI, Relator

&nbsp;

&nbsp;

__________________________________________

&nbsp;

ORIGINAL PROCEEDING

WRIT OF MANDAMUS

&nbsp;

__________________________________________

&nbsp;

M E M O R A
N D U M&nbsp;&nbsp; O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On August 6, 2003, relator filed a
petition for writ of mandamus in this Court, complaining about the trial
court’s rulings on motions to disqualify attorneys.&nbsp; See Tex. Gov’t. Code Ann. § 22.221 (Vernon Supp. 2003); see also Tex. R. App. P. 52.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We deny relator’s petition for writ
of mandamus. 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

Petition
Denied and Memorandum Opinion filed December 30, 2003.

Panel consists of Justices
Edelman, Frost, and Guzman.

&nbsp;

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